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UNITED STATES DISTRICT COURT totes Kanosnd E Eh .
NORTHERN DISTRICT OF ILLINOIS udge EdmondE. Chang
EASTERN DIVISION United States District Court _
UNITED STATES OF AMERICA
No. 20 CR 892
Vv.
Judge Edmond E. Chang
ADAM TRACY

PLEA AGREEMENT

Ik This Plea Agreement between the Acting United States Attorney for the
Northern District of Illinois, MORRIS PASQUAL, and defendant ADAM TRACY, and
his attorney, NISHAY SANAN, is made pursuant to Rule 11 of the Federal Rules of
Criminal Procedure and is governed in part by Rule 11(c)(1)(A), as more fully set forth
below. The parties to this Agreement have agreed upon the following:

Charges in This Case

2: The information in this case charges defendant with willfully failing to
truthfully account for and pay over to the Internal Revenue Service all of the federal
income taxes withheld and Federal Insurance Contributions Act ("FICA") taxes due
and owing to the United States on behalf of Securities Compliance Group, Ltd. and
its employees, in violation of Title 26, United States Code, Section 7202.

3. Defendant has read the charges against him contained in the
information, and those charges have been fully explained to him by his attorney.

4. Defendant fully understands the nature and elements of the crimes with

which he has been charged.
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Charge to Which Defendant Is Pleading Guilty

5. By this Plea Agreement, defendant agrees to enter a voluntary plea of
guilty to the following count of the information: Count 9, which charges defendant
with willfully failing to truthfully account for and pay over to the Internal Revenue
Service all of the federal income taxes withheld and Federal Insurance Contributions
Act ("FICA") taxes due and owing to the United States on behalf of Securities
Compliance Group, Ltd. and its employees, in violation of Title 26, United States
Code, Section 7202.

Factual Basis

6. Defendant will plead guilty because he is in fact guilty of the charge
contained in Count 9 of the information. In pleading guilty, defendant admits the
following facts and that those facts establish his guilt beyond a reasonable doubt and
constitute relevant conduct pursuant to Guideline § 1B1.3:

On or about certain dates between January 31, 2015 and July 31, 2018,
including on or about January 31, 2017 (Count 9 of the indictment), in the Northern
District of Illinois, Eastern Division, and elsewhere, defendant ADAM TRACY did
willfully fail to truthfully account for and pay over to the Internal Revenue Service
all of the federal income taxes withheld and Federal Insurance Contributions Act
(“FICA”) taxes due and owing to the United States on behalf of Securities Compliance
Group, Ltd. and its employees, in violation of Title 26, United States Code, Section

7202.
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Specifically, ADAM TRACY managed, controlled, operated and directed
Securities Compliance Group, Ltd., which was an Illinois Corporation established in
or about December 2013, and which was based in the Northern District of Illinois.
Securities Compliance Group, Ltd. was a law practice and consulting practice, and it
sometimes did business as “Clearing Link, LLC,” “Wabash Capital Advisors, Ltd.,”
“Guanwei Recycling Corporation,” and “The Tracy Firm, Ltd.,” and certain other
variations of these names. During earlier periods of time, he also managed and
controlled other entities called Adam S. Tracy, Ltd., Tracy Legal Group, Ltd., and
Clearing Link, LLC. For each of these four entities, ADAM TRACY was required to
but failed both to (1) truthfully account for and pay over to the Internal Revenue
Service all of the federal income taxes withheld and Federal Insurance Contributions
Act (“FICA”) taxes due and owing to the United States on behalf of these entities and
their employees, and (2) to report and pay a matching share of the Social Security
and Medicare taxes that was withheld from their employees.

These entities were required to make deposits of the payroll taxes to the
Internal Revenue Service on a periodic basis. In addition, they were required to file,
one month following the end of each calendar quarter, an Employer’s Quarterly
Federal Income Tax Return (Form 941), with the Internal Revenue Service setting
forth the total amount of wages and other compensation subject to withholding, the
total amount of income tax withheld, the total amount of social security and Medicare

taxes due, and the total deposits.
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ADAM TRACY was a “responsible person” for each of these entities, meaning
he had the responsibility for collecting, accounting for, and paying over to the Internal
Revenue Service the payroll taxes for these entities.

Some of the details of his conduct are set forth below.

a. Securities Compliance Group, Ltd.

Between January 2015 and July 2018, Securities Compliance Group, Ltd.
withheld FICA and federal income taxes from its employees’ paychecks. Altogether,
during the fifteen calendar quarters between December 31, 2014 and June 30, 2018,
Securities Compliance Group, Ltd. failed to account and pay over approximately
$137,403.76 in payroll taxes.

In addition to the $137,403.76 of unpaid federal employee trust fund tax
withholdings as described above, Securities Compliance Group, Ltd., as an employer,
was also required to report and pay a matching share of the Social Security and
Medicare taxes withheld from its employees. During the period December 2014
through June 2018, Securities Compliance Group, Ltd. failed to pay to the Internal
Revenue Service approximately $46,400 for the employer portion of the taxes
withheld from its employees.

It is the government’s position that the total unpaid employment tax liability

for Securities Compliance Group, Ltd. is $183,803.76.
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bi Adam S. Tracy, Ltd.

Adam 8S. Tracy, Ltd. filed employment tax returns for 2010 and 2011. Adam 8.
Tracy Ltd.’s employment tax returns for 2010 and 2011 reported a total of $42,728 of
federal employee trust fund tax withholdings for which the Internal Revenue Service
received no payments. Its 2010 and 2011 employment tax returns reported a total of
$12,879 of employer portion Social Security and Medicare taxes for which the
Internal Revenue Service received no payments. It is the government's position that
the total unpaid employment tax liability for Adam S. Tracy, Ltd. is $55,607.

G. Tracy Legal Group, Ltd.

Tracy Legal Group, Ltd., filed employment tax returns for 2012 and 2013.
Tracy Legal Group, Ltd.’s employment tax returns for 2012 and 2013 reported a total
of $36,566 of federal employee trust fund tax withholdings for which the Internal
Revenue Service received $3,535 of payments, leaving an outstanding balance of
$33,031. Its 2012 and 2013 employment tax returns reported a total of $14,815 of
employer portion Social Security and Medicare taxes for which the Internal Revenue
Service received $489 of payments, leaving an outstanding balance of $14,325. It is
the government’s position that the total unpaid employment tax liability for Tracy

Legal Group, Ltd. is $47,356.
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d. Clearing Link, LLC

Clearing Link, LLC, filed employment tax returns for 2014. Clearing Link,
LLC’s employment tax returns for 2014 reported a total of $13,747 of federal
employee trust fund tax withholdings for which the Internal Revenue Service
received no payments. Its 2014 employment tax returns reported a total of $4,938 of
employer portion Social Security and Medicare taxes for which the Internal Revenue
Service received no payments. It is the government’s position that the total unpaid
employment tax liability for Tracy Legal Group, Ltd. is $18,685.

e. ADAM TRACY - Failure to File Corporate and Personal Taxes

For the tax years 2014 through 2018, ADAM TRACY failed to file federal tax
returns for the entities he controlled and for himself individually. It is the
government’s position that the amount of tax due and owing on behalf of his entities
and himself is $981,910.

It is the government’s position that the total amount of ADAM TRACY’S tax
liability is $1,287,361.76.

The foregoing facts are set forth solely to assist the Court in determining
whether a factual basis exists for defendant’s plea of guilty, and are not intended to
be a complete or comprehensive statement of all the facts within defendant’s personal

knowledge regarding the charged crimes and related conduct.
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Maximum Statutory Penalties

7. Defendant understands that the charge to which he is pleading guilty
carries the following statutory penalties:

a. A maximum sentence of 5 years’ imprisonment. This offense also
carries a maximum fine of $250,000. Defendant further understands that the Court
must order costs of prosecution, estimated not to exceed $500. Defendant further
understands that the judge also may impose a term of supervised release of not more

than three years.

b. Pursuant to Title 18, United States Code, Section 3013, defendant
will be assessed $100 on the charge to which he has pled guilty, in addition to any
other penalty or restitution imposed.

Sentencing Guidelines Calculations

8. Defendant understands that, in determining a sentence, the Court is
obligated to calculate the applicable Sentencing Guidelines range, and to consider
that range, possible departures under the Sentencing Guidelines, and other
sentencing factors under 18 U.S.C. § 3553(a), which include: (i) the nature and
circumstances of the offense and the history and characteristics of the defendant; (ii)
the need for the sentence imposed to reflect the seriousness of the offense, promote
respect for the law, provide just punishment for the offense, afford adequate
deterrence to criminal conduct, protect the public from further crimes of the

defendant, and provide the defendant with needed educational or vocational training,
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medical care, or other correctional treatment in the most effective manner; (iii) the
kinds of sentences available; (iv) the need to avoid unwarranted sentence disparities
among defendants with similar records who have been found guilty of similar
conduct; and (v) the need to provide restitution to any victim of the offense.
9, For purposes of calculating the Sentencing Guidelines, the parties agree
on the following points:
a. Applicable Guidelines. The Sentencing Guidelines to be
considered in this case are those in effect at the time of sentencing. The following

statements regarding the calculation of the Sentencing Guidelines are based on the

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Guidelines Manual currently in effect, namely the 2088 Guidelines Manual. ~ ih / y ho y
b, Offense Level Calculations.
i; It is the government’s position that the base offense level

is 20, pursuant to Guideline § 2T1.6 and 2T4.1(H); because the total amount of tax
loss is $1,287,361.76, which exceeds $550,000 but does not exceed $1,500,000.
Defendant reserves the right to dispute the amount of the tax loss at sentencing.

il. Defendant has clearly demonstrated a recognition and
affirmative acceptance of personal responsibility for his criminal conduct. If the
government does not receive additional evidence in conflict with this provision, and
if defendant continues to accept responsibility for his actions within the meaning of
Guideline § 3E1.1(a), including by furnishing the United States Attorney’s Office and

the Probation Office with all requested financial information relevant to his ability to

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satisfy any fine or restitution that may be imposed in this case, a two-level reduction
in the offense level is appropriate.

ill. In accord with Guideline § 3E1.1(b), defendant has timely
notified the government of his intention to enter a plea of guilty, thereby permitting
the government to avoid preparing for trial and permitting the Court to allocate its
resources efficiently. Therefore, as provided by Guideline § 3E1.1(b), if the Court
determines the offense level to be 16 or greater prior to determining that defendant
is entitled to a two-level reduction for acceptance of responsibility, the government
will move for an additional one-level reduction in the offense level.

lv. Based on the facts now known to the government,
defendant does not receive any criminal history points from Chapter Four, Part A,
and otherwise meets the criteria set forth in Guidelines § 4C1.1(a). Therefore, the
offense level is decreased by 2 levels.

Criminal History Category. With regard to determining
defendant’s criminal history points and criminal history category, based on the facts
now known to the government, defendant’s criminal history points equal zero and
defendant’s criminal history category is I.

d. Anticipated Advisory Sentencing Guidelines Range.
Therefore, based on the facts now known to the government, it is the government’s
position that the anticipated offense level is 15 which, when combined with the

anticipated criminal history category of I, results in an anticipated advisory
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sentencing guidelines range of 18 to 24 months’ imprisonment, in addition to any
supervised release, fine, and restitution the Court may impose, Defendant reserves
the right to dispute the applicable Sentencing Guidelines range at sentencing based
on the amount of the tax loss.

e. Defendant and his attorney and the government acknowledge
that the above guidelines calculations are preliminary in nature, and are non-binding
predictions upon which neither party is entitled to rely. Defendant understands that
further review of the facts or applicable legal principles may lead the government to
conclude that different or additional guidelines provisions apply in this case.
Defendant understands that the Probation Office will conduct its own investigation
and that the Court ultimately determines the facts and law relevant to sentencing,
and that the Court’s determinations govern the final guideline calculation.
Accordingly, the validity of this Agreement 1s not contingent upon the probation
officer’s or the Court’s concurrence with the above calculations, and defendant shall
not have a right to withdraw his plea on the basis of the Court’s rejection of these
calculations.

£, Both parties expressly acknowledge that this Agreement is not
governed by Fed. R. Crim. P. 11(c)(1) (B), and that errors in applying or interpreting
any of the sentencing guidelines may be corrected by either party prior to sentencing.
The parties may correct these errors either by stipulation or by a statement to the

Probation Office or the Court, setting forth the disagreement regarding the applicable

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provisions of the guidelines. The validity of this Agreement will not be affected by
such corrections, and defendant shall not have a right to withdraw his plea, nor the
government the right to vacate this Agreement, on the basis of such corrections.
Cooperation

10. Defendant agrees he will fully and truthfully cooperate in any matter in
which he is called upon to cooperate by a representative of the United States
Attorney’s Office for the Northern District of Illinois. This cooperation shall include
providing complete and truthful information in any investigation and pre-trial
preparation and complete and truthful testimony in any criminal, civil, or
administrative proceeding, whether in the Northern District of Illinois or in another
District. Defendant agrees to the postponement of his sentencing until after the
conclusion of his cooperation.

Agreements Relating to Sentencing

11. At the time of sentencing, the government shall make known to the
sentencing judge the extent of defendant’s cooperation. If the government determines
that defendant has continued to provide full and truthful cooperation as required by
this agreement, then the government shall move the court, pursuant to Guideline
§ 5K1.1, to depart downward from the low end of the applicable guideline range in an
amount to be determined by the government at the time of sentencing. Defendant
shall be free to recommend any sentence. Defendant understands that the decision to

depart from the applicable guideline range rests solely with the Court.

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12. If the government does not move the Court, pursuant to Guideline
§ 5K1.1, to depart from the applicable guideline range, as set forth above, the
preceding paragraph of this Agreement will be inoperative, both parties shall be free
to recommend any sentence, and the Court shall impose a sentence taking into
consideration the factors set forth in 18 U.S.C. § 3553(a) as well as the Sentencing
Guidelines without any downward departure for cooperation pursuant to § 5K1.1.
Defendant may not withdraw his plea of guilty because the government has failed to
make a motion pursuant to Guideline § 5K1.1.

13. It is understood by the parties that the sentencing judge is neither a
party to nor bound by this Agreement and may impose a sentence up to the maximum
penalties as set forth above. Defendant further acknowledges that if the Court does
not accept the sentencing recommendation of the parties, defendant will have no right
to withdraw his guilty plea.

14. Regarding restitution, defendant agrees to pay restitution, arising from
both the offenses of conviction and the relevant conduct set forth above in an amount
to be determined by the Court at sentencing, and he further agrees to pay restitution
to State and local governments representing his personal (Form 1040) taxes due and
owing to State and local governments, pursuant to Title 18, United States Code,
Sections 3663(a)(8) and 3664.

15. Defendant understands that the amount of tax loss as calculated by

the Internal Revenue Service may exceed the amount of tax due as calculated for

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restitution in the criminal case. Defendant further understands that the IRS may
use the restitution order as a basis for civil assessment pursuant to Title 26, United
States Code, Section 6201(a)(4).

16. Restitution shall be due immediately and paid pursuant to a schedule to
be set by the Court at sentencing. Defendant acknowledges that pursuant to Title 18,
United States Code, Section 3664(k), he is required to notify the Court and the United
States Attorney’s Office of any material change in economic circumstances that might
affect his ability to pay restitution. Neither the existence of a restitution payment
schedule nor the defendant’s timely payment of restitution according to that schedule
will preclude the IRS from immediately collecting the full amount of the restitution-
based assessment.

17. Defendant agrees to pay the special assessment of $100 at the time of
sentencing with a cashier’s check or money order payable to the Clerk of the U.S.
District Court.

18. Defendant agrees that the United States may enforce collection of any
fine or restitution imposed in this case pursuant to Title 18, United States Code,
Sections 3572, 3613, and 3664(m), and Title 31, United States Code, Sections 3711,
3716, and 3728, notwithstanding any payment schedule set by the Court. In the event
of the death or dissolution of, or the government’s inability to locate the named
recipient(s) of restitution in the Judgment and Commitment Order, the defendant

agrees to not oppose efforts by the government to obtain an order substituting as

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payee a representative of the victim’s estate, another family member, or any other
person or successor entity appointed as suitable by the court, or the Crime Victims
Fund.

19. After sentence has been imposed on the count to which defendant wiaadz
guilty as agreed herein, the government will move to dismiss the remaining counts of

the information as to defendant.

Acknowledgments and Waivers Regarding Plea of Guilty

Nature of Agreement

20. This Agreement is entirely voluntary and represents the entire
agreement between the United States Attorney and defendant regarding defendant’s
criminal liability in case 20 CR 892.

21. This Agreement concerns criminal liability only. Except as expressly set
forth in this Agreement, nothing herein shall constitute a limitation, waiver, or
release by the United States or any of its agencies of any administrative or judicial
civil claim, demand, or cause of action it may have against defendant or any other
person or entity. The obligations of this Agreement are limited to the United States
Attorney’s Office for the Northern District of Illinois and cannot bind any other
federal, state, or local prosecuting, administrative, or regulatory authorities, except
as expressly set forth in this Agreement.

92. Defendant understands that nothing in this Agreement shall limit the

Internal Revenue Service in its collection of any taxes, interest or penalties from

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defendant or defendant’s partnership or corporations. Defendant understands that
the amount of tax as calculated by the IRS may exceed the amount of tax due as
calculated for the criminal case.
Waiver of Rights
93. Defendant understands that, by pleading guilty, he surrenders certain

rights, including the following:

a. Right to be charged by indictment. Defendant understands
that he has a right to have the charges prosecuted by an indictment returned by a
concurrence of twelve or more members of a grand jury consisting of not less than
sixteen and not more than twenty-three members. By signing this Agreement,
defendant knowingly waives his right to be prosecuted by indictment and to assert at
trial or on appeal any defects or errors arising from the information, the information
process, or the fact that he has been prosecuted by way of information.

b. Trial rights. Defendant has the right to persist in a plea of not
guilty to the charges against him, and if he does, he would have the right to a public

and speedy trial.

i. The trial could be either a jury trial or a trial by the judge
sitting without a jury. However, in order that the trial be conducted by the judge
sitting without a jury, defendant, the government, and the judge all must agree that

the trial be conducted by the judge without a jury.

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Ths If the trial is a jury trial, the jury would be composed of
twelve citizens from the district, selected at random. Defendant and his attorney
would participate in choosing the jury by requesting that the Court remove
prospective jurors for cause where actual bias or other disqualification is shown, or
by removing prospective jurors without cause by exercising peremptory challenges.

lil. If the trial is a jury trial, the jury would be instructed that
defendant is presumed innocent, that the government has the burden of proving
defendant guilty beyond a reasonable doubt, and that the jury could not convict him
unless, after hearing all the evidence, it was persuaded of his guilt beyond a
reasonable doubt and that it was to consider each count of the information separately.
The jury would have to agree unanimously as to each count before it could return a
verdict of guilty or not guilty as to that count.

lv. If the trial is held by the judge without a jury, the judge
would find the facts and determine, after hearing all the evidence, and considering
each count separately, whether or not the judge was persuaded that the government
had established defendant’s guilt beyond a reasonable doubt.

Vv. At a trial, whether by a jury or a judge, the government
would be required to present its witnesses and other evidence against defendant.
Defendant would be able to confront those government witnesses and his attorney

would be able to cross-examine them.

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V1. At a trial, defendant could present witnesses and other
evidence in his own behalf. If the witnesses for defendant would not appear
voluntarily, he could require their attendance through the subpoena power of the
Court. A defendant is not required to present any evidence.

c. At a trial, defendant would have a privilege against self-
incrimination so that he could decline to testify, and no inference of guilt could be
drawn from his refusal to testify. If defendant desired to do so, he could testify in his
own behalf.

d. Waiver of appellate and collateral rights. Defendant further
understands he is waiving all appellate issues that might have been available if he
had exercised his right to trial. Defendant is aware that Title 28, United States Code,
Section 1291, and Title 18, United States Code, Section 3742, afford a defendant the
right to appeal his conviction and the sentence imposed. Acknowledging this, if the
government makes a motion at sentencing for a downward departure pursuant to
Guideline § 5K1.1, defendant knowingly waives the right to appeal his conviction,
any pre-trial rulings by the Court, and any part of the sentence (or the manner in
which that sentence was determined), including any term of imprisonment and fine
within the maximums provided by law, and including any order of restitution, in
exchange for the concessions made by the United States in this Agreement. In
addition, if the government makes a motion at sentencing for a downward departure

pursuant to Guideline § 5K1.1, defendant also waives his right to challenge his

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conviction and sentence, and the manner in which the sentence was determined, in
any collateral attack or future challenge, including but not limited to a motion
brought under Title 28, United States Code, Section 9255. The waiver in this
paragraph does not apply to a claim of involuntariness or ineffective assistance of
counsel, nor does it prohibit defendant from seeking a reduction of sentence based
directly on a change in the law that is applicable to defendant and that, prior to the
filing of defendant’s request for relief, has been expressly made retroactive by an Act
of Congress, the Supreme Court, or the United States Sentencing Commission.

24. Defendant understands that, by pleading guilty, he is waiving all the
rights set forth in the prior paragraphs. Defendant's attorney has explained those
rights to him, and the consequences of his waiver of those rights.

Presentence Investigation Report/Post-Sentence Supervision

25. Defendant understands that the United States Attorney’s Office in its
submission to the Probation Office as part of the Pre-Sentence Report and at
sentencing shall fully apprise the District Court and the Probation Office of the
nature, scope, and extent of defendant’s conduct regarding the charges against him,
and related matters. The government will make known all matters in aggravation
and mitigation relevant to sentencing, including the nature and extent of defendant’s
cooperation.

26. Defendant agrees to truthfully and completely execute a Financial

Statement (with supporting documentation) prior to sentencing, to be provided to and

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shared among the Court, the Probation Office, and the United States Attorney’s
Office regarding all details of his financial circumstances, including his recent income
tax returns as specified by the probation officer. Defendant understands that
providing false or incomplete information, or refusing to provide this information,
may be used as a basis for denial of a reduction for acceptance of responsibility
pursuant to Guideline § 3E1.1 and enhancement of his sentence for obstruction of
justice under Guideline § 3C1.1, and may be prosecuted as a violation of Title 18,
United States Code, Section 1001 or as a contempt of the Court.

27. For the purpose of monitoring defendant's compliance with his
obligations to pay a fine and restitution during any term of supervised release or
probation to which defendant is sentenced, defendant further consents to the
disclosure by the IRS to the Probation Office and the United States Attorney's Office
of defendant’s individual income tax returns (together with extensions,
correspondence, and other tax information) filed subsequent to defendant’s
sentencing, to and including the final year of any period of supervised cclanne or
probation to which defendant is sentenced. Defendant also agrees that a certified copy
of this Agreement shall be sufficient evidence of defendant’s request to the IRS to
disclose the returns and return information, as provided for in Title 26, United States

Code, Section 6103(b).

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Other Terms

28. Defendant agrees to cooperate with the United States Attorney's Office
in collecting any ordered fine and restitution for which defendant is liable, including
providing financial statements and supporting records as requested by the United
States Attorney’s Office.

29. Regarding matters relating to the Internal Revenue Service, defendant
agrees as follows (nothing in this paragraph, however, precludes defendant or
defendant’s partnerships or corporations from asserting any legal or factual defense
to taxes, interest, and penalties that may be assessed by the IRS):

fi Defendant agrees to cooperate with the Internal Revenue Service
in any tax examination or audit of defendant and defendant’s partnerships or
corporations which directly or indirectly relates to or arises out of the course of
conduct that defendant has acknowledged in this Agreement, by transmitting to the
IRS original records or copies thereof, and any additional books and records that the
IRS may request.

30. Defendant will not object to a motion brought by the United States
Attorney’s Office for the entry of an order authorizing disclosure of documents,
testimony and related investigative materials which may constitute grand jury
material, preliminary to or in connection with any judicial proceeding, pursuant to
Fed. R. Crim. P. 6(e)(3)(E)(i). In addition, defendant will not object to the

government’s solicitation of consent from third parties who provided records or other

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materials to the grand jury pursuant to grand jury subpoenas, to turn those materials
over to the Civil Division of the United States Attorney’s Office, or an appropriate
federal or state agency (including but not limited to the Internal Revenue Service),
for use in civil or administrative proceedings or investigations, rather than returning
them to the third parties for later summons or subpoena in connection with a civil or
administrative proceeding involving, or investigation of, defendant or defendant's
partnerships or corporations. Nothing in this paragraph or the preceding paragraph
precludes defendant or defendant’s partnerships or corporations from asserting any
legal or factual defense to taxes, interest, and penalties that may be assessed by the
IRS.

31. Defendant understands that, if convicted, a defendant who is not a
United States citizen may be removed from the United States, denied citizenship, and
denied admission to the United States in the future.

Conclusion

32. Defendant understands that this Agreement will be filed with the Court,
will become a matter of public record, and may be disclosed to any person.

33. Defendant understands that his compliance with each part of this
Agreement extends throughout the period of his sentence, and failure to abide by any
term of the Agreement is a violation of the Agreement. Defendant further
understands that in the event he violates this Agreement, the government, at its

option, may move to vacate the Agreement, rendering it null and void, and thereafter

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prosecute defendant not subject to any of the limits set forth in this Agreement, or
may move to resentence defendant or require defendant's specific performance of this
Agreement. Defendant understands and agrees that in the event that the Court
permits defendant to withdraw from this Agreement, or defendant breaches any of
its terms and the government elects to void the Agreement and prosecute defendant,
any prosecutions that are not time-barred by the applicable statute of limitations on
the date of the signing of this Agreement may be commenced against defendant in
accordance with this paragraph, notwithstanding the expiration of the statute of
limitations between the signing of this Agreement and the commencement of such
prosecutions.

34. Should the judge refuse to accept defendant’s plea of guilty, this
Agreement shall become null and void and neither party will be bound to it.

35. Defendant and his attorney acknowledge that no threats, promises, or
representations have been made, nor agreements reached, other than those set forth

in this Agreement, to cause defendant to plead guilty.

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36. Defendant acknowledges that he has read this Agreement and carefully
veviewed each provision with his attorney. Defendant further acknowledges that he

understands and voluntarily accepts each and every ‘term and condition of this

Agreement,

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JASON YONAN ‘one ees Leo

Date: 2024.10.04 08:3649 0500"

AGREED THIS DATE: - Lou Y

Signed by Jason Yonan, on behalf ADAM TRACY
of MORRIS PASQUAL., Defindant
Acting United States Attorney
MATTHEW GETTER Siccinwarannss oe Cua.

- MATTHEW GETTER NISHAY SANAN

Assistant U.S. Attorney

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Attorney for Defendant

